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ORIGINAL
                            IN THE LINITED STATES DISTzuCT COURT
                            FOR THE NORTHERN DISTzuCT OF TEXAS
                                    FORT WORTH DIVISION

   UNITED STATES OF AMEzuCA

   v                                                        NO. 4:23-CR-220-O

   JASMTNE VTOLET AGUTLLON (01)


                          PLEA AGREEMENT WITH WAIVER OF APPEAL

          JASMINE VIOLET AGUILLON, the defendant, the defendant's attorney, and the

   United States of America (the government) agree as follows:

         1.          Rights of the defendant: The defendant understands that the defendant

   has the rights:

                     a.     to plead not guilty;

                     b.     to have a trial by jury;

                     c.     to have the defendant's guilt proven beyond a reasonable doubt;

                     d.     to confront and cross-examine witnesses and to call witnesses in the
                            defendant's defense: and


                     e.     against compelled self-incrimination.


          2.         Waiver of rights and plea of guilty: The defendant waives these rights

   and pleads guilty to the offense alleged in Count One of the Superseding Information,

   charging a violation of 21 U.S.C. $846, that is, conspiracy to possess with intent to

   distribute a controlled substance. The defendant understands the nature and elements of




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the crime to which the defendant is pleading guilty, and agrees that the factual resume the

defendant has signed is true and will be submitted as evidence.

       3.     Sentence: The minimum and maximum penalties the Court can impose

include:

              a.     imprisonment for a period not to exceed twenty (20) years;

              b.     a fine not to exceed $1,000,000, or both a fine and imprisonment;


              c.     a term of supervised release of not less than three (3) years, which is
                     mandatory under the law and will follow any term of imprisonment.
                     If the defendant violates the conditions of supervised release, the
                     defendant could be imprisoned for the entire term of supervised
                     release;


              d.         a mandatory special assessment of $100;


              e.         restitution to victims or to the community, which may be mandatory
                         under the law, and which the defendant agrees may include
                         restitution arising from all relevant conduct, not limited to that
                         arising from the offense of conviction alone;


              f.         costs of incarceration and supervision; and


              g.         forfeiture of property.

       4.     Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the deflendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration


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consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attorney or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.


          5.   Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attorney, but understands no one can predict with certainty the outcome of the Court's

consideration of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea if the defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

          6.   Mandatory special assessment: The defendant agrees to pay to the U.S.

District Clerk the amount of $100, in satisfaction of the mandatory special assessment in

this case.

          7.   Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony concerning the defendant's participation in the offense of

conviction. Upon demand, the defendant shall submit a personal financial statement


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under oath and submit to interviews by the govemment and the U.S. Probation Office

regarding the defendant's capacity to satisfy any fines or restitution. The defendant

expressly authorizes the United States Attorney's Office to immediately obtain a credit

report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         8.   Government's agreement: The government will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The government will dismiss, after sentencing, any remaining

charges in the pending Indictment/Information. This agreement is limited to the United

States Attorney's Office for the Northern District of Texas and does not bind any other

federal, state, or local prosecuting authorities, nor does it prohibit any civil or

administrative proceeding against the defendant or any properfy.

         9-   Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant's guilty plea is vacated or


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withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

or withdrawn for any reason other than a finding that it was involuntary, the defendant

also waives objection to the use against the defendant of any information or statements

the defendant has provided to the government, and any resulting leads.

       10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

       1   1. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and 18 U.S.C. $

3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence" fine and order of restitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. $ 2241 and

28 U.S.C. \ 2255. The defendant, however, reserves the rights (a) to bring a direct appeal

of (i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error

at sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.

       12. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant's attorney and is fully satisfied


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with that attorney's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       13. Entirety of agreement: This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises,

representations, understandings, and agreements that are or were made between the

parties at any time before the guilty plea is entered in court. No promises or

representations have been made by the United States except as set forth in writing in this

plea agreement.




                                 (Continued on the next page)




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AGREED TO AND SIGNED tNiS2(hAV OTI}*-,ZOZI

                                   LEIGHA SIMONTON
                                   UNITED ST TES ATTORNEY



                                   LAURA G.             S
                                   Assistant United States Attorney
                                   Massachusetts State Bar No. 687739
                                   801 Cherry Street, Suite 1700
                                   Fort Worth, Texas 76102
                                                8n.252.s200
                                   Fr           81   .252.5455
                                                         .gov




                                                     Chief


       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.


                                           q ?              /)   023
    MINE                AGUILLON                Date
Det-endant

      I am the defendant's attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client's decision to enter
into this plea         is an informed and voluntary one.




        D                                               ^073
Attorney for Defendant




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